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                        IN THE UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA

                                        Orlando Division

                               Case No. 6:15-cv-1774-Orl-41-TBS

KRISTINA B. RENICK,

       Plaintiff,

vs.

TURNSTILE CAPITAL
MANAGEMENT, LLC,
AMERICAN CORADIUS
INTERNATIONAL, LLC
and RAB, INC.,

      Defendants.
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                            NOTICE OF SETTLEMENT
       Plaintiff, KRISTINA B. RENICK, pursuant to Rule 3.08 of the Local Rules of the United

States District Court, Middle District of Florida, hereby gives notice that the above-referenced

matter has been completely resolved among the parties.

       Dated: December 15, 2015.
                                                  /s/ N. James Turner
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